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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 15-60082-CIV-DIMITROULEAS/SNOW


   SECURITIES AND EXCHANGE
   COMMISSION,

                  Plaintiff,

                  vs.

   FREDERIC ELM f/k/a FREDERIC
   ELMALEH, et al.,

                  Defendants,

   and

   AMANDA ELM f/k/a AMANDA
   ELMALEH,

               Relief Defendant.
   ______________________________/


                                REPORT AND RECOMMENDATION
                  THIS CAUSE is before the Court on the Receiver's Second Interim Application for

   Allowance and Payment of Fees and Expenses Incurred by the Receiver and Retained Counsel (ECF

   No. 125), which was referred to United States Magistrate Judge, Lurana S. Snow, for Report and

   Recommendation. The Defendants did not respond to the motion and it is ripe for consideration.

                  This was an action filed by the Securities and Exchange Commission (SEC) for
   temporary and permanent injunction against Defendant Frederic Elm and the corporate Defendants.

   On January 6, 2015, the Court appointed Grisel Alonso, Esq. to serve as receiver for the corporate

   Defendants. The Receivership Order provides, in pertinent part:

                  14. The Receiver, and any counsel whom the Receiver may select, are
                  entitled to reasonable compensation from the assets now held by or
                  in the possession or control of or may be received by ETIA and the
                  Elm Tree funds; said amount or amounts of compensation shall be
                  commensurate with their duties and obligations under the
                  circumstances, subject to approval of the Court. . . .

   (ECF No. 13 at 4-5)
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                  The Receiver now seeks an interim award for the time period of April 1 - June 30,

   2015 of $147,675.64 for the services of herself and her staff attorneys, consisting of fees for

   professional services in the amount of $145,855.75 for 672.65 hours of work, and expenses in the

   amount of $1,819.89. The Receiver also requests $106,452.50 in attorneys' fees for 424.9 hours of

   work by her retained counsel, the law firm of Broad and Cassel, together with expenses incurred by

   counsel in the amount of $5,809.99. In support of her Application, the Receiver attached detailed

   billing records and invoices. (ECF No. 125-1 - 125-5).

                  This Court has found that the billing rates of the Receiver and her staff at Michael

   Moecker and Associates, Inc. (MMA), as well as the timekeepers at Broad & Cassel, are reasonable

   (ECF No. 113, 117). The undersigned has reviewed the records submitted by the Receiver and finds

   that the hours expended by them, as well as the claimed expenses, likewise are reasonable and should

   be approved.

                                             CONCLUSION
                  This Court having considered carefully the pleadings, arguments of counsel, and the

   applicable case law, it is hereby

                   RECOMMENDED that the Receiver's Second Interim Application for Allowance

   and Payment of Fees and Expenses Incurred by the Receiver and Retained Counsel (ECF No. 125)

   be GRANTED, and that the Receiver be authorized to pay herself and MMA the total amount of

   $147,675.64 ($145,855.75 in fees + $1,819.89 in expenses) and to pay Broad and Cassell the total
   amount of $112,262.49 ($106,452.50 in fees + $5,809.99 in expenses).

                  The parties will have 14 days from the date of being served with a copy of this Report

   and Recommendation within which to file written objections, if any, with The Honorable William

   P. Dimitrouleas, United States District Judge. Failure to file objections timely shall bar the parties

   from attacking on appeal factual findings contained herein. LoConte v. Dugger, 847 F.2d 745 (11th

   Cir. 1988), cert. denied, 488 U.S. 958 (1988); RTC v. Hallmark Builders, Inc., 996 F.2d 1144, 1149



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   (11th Cir. 1993).

                DONE AND SUBMITTED at Fort Lauderdale, Florida, this 18th day of November,

   2015.




   Copies to:
   All Counsel of Record




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